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U.S. Department of Justice

Andrew E. Lelling
United States Attorney
District of Massachusetts

 

 

Main Reception: (617) 748-3100 John Joseph Moakley United States Courthouse
1 Courthouse Way
Suite 9200
Boston, Massachusetts 02210

September 22, 2020

John A. Amabile
380 Pleasant Street
Brockton, MA 02301

Re: United States v. Alexander Santiago Medina,
Criminal No. 1:19-CR-10421-DPW(s)

Dear Attorney Amabile:

The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and your
client, Alexander Santiago Medina, a/k/a “Flaco” (“Defendant”), agree as follows, pursuant to
Federal Rule of Criminal Procedure 11(c)(1)(B):

1. Change of Plea

At the earliest practicable date, Defendant will plead guilty to count Two of the
Superseding Indictment: Conspiracy to Distribute and to Possess with Intent to Distribute 500
Grams or More of Cocaine, in violation of 21 U.S.C. § 846. Defendant expressly and
unequivocally admits that he committed the crime specified in Count Two of the Superseding
Indictment, did so knowingly and intentionally, and is in fact guilty of that offense.

Defendant agrees to the accuracy of the attached statement of facts.
2 Penalties

Defendant faces the following mandatory minimum and maximum penalties: incarceration
for a mandatory minimum of 5 years and up to 40 years; supervised release for a mandatory
minimum of 4 years and up to life; a fine of $5,000,000; a mandatory special assessment of $100;
and forfeiture to the extent charged in the Superseding Indictment.

Defendant understands that, if he is not a United States citizen, pleading guilty may affect
Defendant’s immigration status. Under federal law, a broad range of crimes are removable

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offenses, including the offenses to which Defendant is pleading guilty. Indeed, because Defendant
is pleading guilty to a controlled substances offense, removal is presumptively mandatory.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and Defendant understands that no one, including defense counsel and the District Court, can
predict to a certainty the effect of this conviction on Defendant’s immigration status. Defendant
agrees to plead guilty regardless of any potential immigration consequences, even if Defendant’s
plea results in being automatically removed from the United States.

3, Sentencing Guidelines

The parties agree, based on the following calculations, that Defendant’s total “offense
level” under the Guidelines is 25:

a) Defendant’s base offense level is 26, because at least 400 kilograms but less
than 700 kilograms of converted drug weight is attributable to him (USSG
§2D1.1(c)(7));

b) Defendant’s offense level is increased by 2, because Defendant possessed a
firearm (USSG §2D1.1(b)(1)); and

c) Defendant’s offense level is decreased by 3, because Defendant has accepted
responsibility for Defendant’s crime (USSG § 3E1.1).

Defendant understands that the Court is not required to follow this calculation, and that
Defendant may not withdraw his guilty plea if Defendant disagrees with how the Court calculates
the Guidelines or with the sentence the Court imposes.

Defendant also understands that the government will object to any reduction in his sentence
based on acceptance of responsibility if: (a) at sentencing, Defendant (himself or through counsel)
indicates that he does not fully accept responsibility for having engaged in the conduct underlying
each of the elements of the crime(s) to which he is pleading guilty; or (b) by the time of sentencing,
Defendant has committed a new federal or state offense, or has in any way obstructed justice.

If, after signing this Agreement, Defendant’s criminal history score or Criminal History
Category is reduced, the U.S. Attorney reserves the right to seek an upward departure under the
Guidelines.

Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

4. Sentence Recommendation
The U.S. Attorney agrees to recommend the following sentence to the Court:
a) incarceration within the Guidelines sentencing range as calculated by the parties

in Paragraph 3, but in no event less than any applicable mandatory minimum
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sentence;
b) 48 months of supervised release;

c) amndatory special assessment of $100, which Defendant must pay to the Clerk
of the Court by the date of sentencing; and

d) foreiture as set forth in Paragraph 5.
5; Forfeiture

Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea,
enter an order of forfeiture as part of Defendant’s sentence, and that the order of forfeiture may
include assets directly traceable to Defendant’s offense, assets used to facilitate Defendant’s
offense, substitute assets and/or a money judgment equal to the value of the property derived from,
or otherwise involved in, the offense.

The assets to be forfeited specifically include, without limitation, the following:

a. $2,669.00 in United States currency seized from the Defendant on December 5,
2019, in Fall River, Massachusetts.

Defendant admits that these assets are subject to forfeiture on the grounds that they
constitute, or are derived from, proceeds of Defendant’s offense. Defendant agrees to consent to
the entry of orders of forfeiture for such property and waives the requirements of Federal Rules of
Criminal Procedure 11(b)(1)(J), 32.2, and 43(a) regarding notice of the forfeiture in the charging
instrument, advice regarding the forfeiture at the change-of-plea hearing, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment. Defendant
understands and agrees that forfeiture shall not satisfy or affect any fine, lien, penalty, restitution,
cost of imprisonment, tax liability or any other debt owed to the United States.

Defendant agrees to assist fully in the forfeiture of the foregoing assets. Defendant agrees
to promptly take all steps necessary to pass clear title to the forfeited assets to the United States,
including but not limited to executing any and all documents necessary to transfer such title,
assisting in bringing any assets located outside of the United States within the jurisdiction of the
United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are not sold, disbursed, wasted, hidden or otherwise made unavailable for forfeiture. Defendant
further agrees (a) not to assist any third party in asserting a claim to the forfeited assets in an
ancillary proceeding, and (b) to testify truthfully in any such proceeding.

If the U.S. Attorney requests, Defendant shall deliver to the U.S. Attorney within 30 days
after signing this Plea Agreement a sworn financial statement disclosing all assets in which
Defendant currently has any interest and all assets over which Defendant has exercised control, or
has had any legal or beneficial interest. Defendant further agrees to be deposed with respect to
Defendant’s assets at the request of the U.S. Attorney. Defendant agrees that the United States

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Department of Probation may share any financial information about the Defendant with the United
States Attorney’s Office.

Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with
this Plea Agreement.

Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.

Without limiting the generality of the foregoing, Defendant hereby specifically waives and
releases Defendant’s claims to $2,669.00 in United States currency, seized by, or turned over to,
the Drug Enforcement Administration on or about December 5, 2019, as to which, Defendant
hereby acknowledges, Defendant received actual notice of administrative or civil judicial
forfeiture proceedings on or about January 27, 2020.

6. Civil Liability

This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to his criminal conduct and guilty plea to the charges
specified in Paragraph 1 of this Agreement.

7. Breach of Plea Agreement

Defendant understands that if he breaches any provision of this Agreement, Defendant
cannot use that breach as a reason to withdraw his guilty plea. Defendant’s breach, however, would
give the U.S. Attorney the right to be released from his commitments under this Agreement, and
would allow the U.S. Attorney to pursue any charges that were, or are to be, dismissed under this
Agreement.

If Defendant breaches any provision of this Agreement, the U.S. Attorney would also have
the right to use against Defendant any of Defendant’s statements, and any information or materials
he provided to the government during investigation or prosecution of his case. The U.S. Attorney
would have this right even if the parties had entered any earlier written or oral agreements or
understandings about this issue.

Finally, if Defendant breaches any provision of this Agreement, he thereby waives any
defenses based on the statute of limitations, constitutional protections against pre-indictment delay,
and the Speedy Trial Act, that Defendant otherwise may have had to any charges based on conduct
occurring before the date of this Agreement.

 
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8. Who is Bound by Plea Agreement

This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

9, Modifications to Plea Agreement

This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.

* * *

If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Craig Estes.

Sincerely,

ANDREW E. LELLING
United States Attorney

By Drath Aina
Linda M. Ricci
Chief, Narcotics & Money Laundering Unit
Katherine Ferguson
Deputy Chief, Narcotics & Money Laundering Unit
Leah Foley
Deputy Chief, Narcotics & Money Laundering Unit

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Craig stes
AssfStant U.S. Attorney
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ACKNOWLEDGMENT OF PLEA AGREEMENT

I have had this letter read to me in my native language and discussed it with my attorney.
The letter accurately presents my agreement with the United States Attorney’s Office for the
District of Massachusetts. There are no unwritten agreements between me and the United States
Attorney’s Office, and no United States government official has made any unwritten promises or
representations to me in connection with my guilty plea. I have received no prior offers to resolve
this case.

I understand the crime I am pleading guilty to, and the mandatory minimum and maximum
penalties for that crime. I have discussed the Sentencing Guidelines with my lawyer and I
understand the sentencing ranges that may apply.

I am satisfied with the legal representation my lawyer has given me and we have had
enough time to meet and discuss my case. We have discussed the charge against me, possible
defenses I might have, the terms of this Agreement and whether I should go to trial.

I am entering into this Agreement freely and voluntarily and because I am in fact guilty of
the offense. I believe this Agreement is in my best interest.

    

Alexander Santiago , Medina
Defendant

Date: lo -S ° DO

I certify that Alexander Santiago Medina has had this Plea Agreement read to him in
Defendant’s native language and that we have discussed what it means. I believe Alexander
Santiago Medina understands the Agreement and is entering into it freely, voluntarily, and
knowingly. I also certify that the U.S. Attorney has not extended any other offers regarding a

change of plea in this case.

. Amabile
n Jney for Defendant

Date: \0 -S “20

 
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STATEMENT OF FACTS
Alexander Santiago Medina
United States v. Alexander Santiago Medina
Criminal No. 19-CR-10421-DPW(s)

In conjunction with Paragraph | of the letter dated September 22, 2020, between my
attorney John A. Amabile, Esq., and the United States Attorney for the District of Massachusetts,
setting forth the agreement between myself and the United States Attorney for the above-
referenced matter, I agree that I am guilty of the offenses to which I will plead guilty, and I
represent that the following facts are true:

From at least February 2019 through December 2019, I was involved in the conspiracy to
distribute and to possess with intent to distribute 500 grams or more of cocaine described in
Count Two of the Superseding Indictment. As part of that conspiracy, I agreed with others to
knowingly distribute and possess with intent to distribute at least 500 grams of cocaine. In
particular, I agree and stipulate that on or about June 17, 2019, co-conspirators and I agreed to
distribute two kilograms of cocaine or more. Likewise, I further agree and stipulate that I
possessed the firearm and the approximately 40 grams of a mixture and substance contained
fentanyl (which I intended to distribute) seized by law enforcement on or about December 5,
2019, from a storage unit that I controlled, and that the firearm was possessed in connection with
the drug offense. I stipulate and agree that over the course of the conspiracy, I knowingly agreed
to distribute and/or possess with intent to distribute at least two kilograms of cocaine, and that I
possessed with the intent to distribute approximately forty grams of fentanyl, and that these
amounts were foreseeable to me and are reasonably attributable to me as relevant conduct for
purposes of sentencing in this matter.

 

Alexander Santiago Medina
Defendant

Date: J) //5

 
